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                                  UNITED STATES DISTRICT COURT
 1
 2                               CENTRAL DISTRICT OF CALIFORNIA
 3                                     SOUTHERN DIVISION
 4 In re:                                        Case No. 8:16-cv-00227
 5 ANNA’S LINENS, INC.                           Bky. Case No. 8:15-bk-13008-TA
 6                     Debtor.                   Chapter 11
 7 P & A MARKETING, INC., PANDA
 8 HOME FASHIONS LLC, SHEWAK                     Adv. Case No. 8:15-ap-01482-TA
   LAJWANTI HOME FASHIONS, INC.
 9 DBA S.L. HOME FASHIONS, INC., and
   WELCOME INDUSTRIAL                            NOTICE OF MOTION AND JOINT
10 CORPORATION                                   MOTION OF DEFENDANTS SALUS
11                     Plaintiffs,               CAPITAL PARTNERS, LLC, SALUS
                                                 CLO 2012-1, LTD, DCP LINENS
12       v.                                      LENDERS, LLC, DOWNTOWN
                                                 CAPITAL PARTNERS, LLC, AND
13 ANNA’S LINENS, INC., ALAN                     FIDELITY & GUARANTY LIFE
   GLADSTONE, SCOTT GLADSTONE,                   INSURANCE COMPANY FOR
14 LOREN PANNIER, KEVIN REILLY,
                                                 WITHDRAWAL OF THE
   SHEPHERD PRYOR, J.E. RICK BUNKA,              REFERENCE TO THE
15 JANET GROVE, SALUS CAPITAL
                                                 BANKRUPTCY COURT;
16 PARTNERS, LLC, SALUS CLO 2012-1,              MEMORANDUM OF POINTS AND
   LTD, DCP LINENS LENDERS, LLC,                 AUTHORITIES
17 DOWNTOWN CAPITAL PARTNERS,
   LLC, FIDELITY & GUARANTY LIFE                 Hearing:
18 INSURANCE COMPANY, and Does 1-
                                                 DATE:        [TBD]
19 25,                                           TIME:        [TBD]
              Defendants.                        PLACE:       [TBD]
20
21 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
22       PLEASE TAKE NOTICE that on the date and time set forth above, Defendants
23 Salus Capital Partners, LLC (“Salus”), Salus CLO 2012-1, Ltd. (“Salus CLO”), DCP
24 Linens Lender, LLC (“DCP”) and Downtown Capital Partners, LLC (“Downtown
25 Capital”), joined by Fidelity & Guaranty Life Insurance Company (“FGL” and
26 collectively, the “Non-Insider Defendants”) will move the United States District Court,
27 Central District of Caliornia (the “Court”) located at 411 West Fourth Street, Santa Ana,
28 California, 92701, for an order withdrawing the reference from the United States
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 1 Bankruptcy Court for the Central District of California (the “Bankruptcy Court”) of the
 2 claims asserted against the Non-Insider Defendants in the above-captioned adversary
 3 proceeding (the “Adversary Proceeding”).
 4          This motion is made pursuant to 28 U.S.C. §§ 157(c), (d) and (e), and Rules 5011,
 5 9015 and 9033 of the Federal Rules of Bankruptcy Procedure on the grounds that
 6 withdrawal of the references is both permissive and warranted because, among other
 7 things: (i) it will promote judicial efficiency because (a) any determination by the
 8 Bankruptcy Court will be subject to de novo review, (b) the Non-Insider Defendants do
 9 not consent to the Bankruptcy Court conducting a jury trial, (c) this Court is better suited
10 to hear the Adversary Proceeding in the first instance, and (d) Bankruptcy Court expertise
11 is not necessary to resolve this matter; (ii) it will prevent delay and minimize costs; and
12 (iii) the uniformity of bankruptcy administration will be maintained.
13          This motion is based upon this notice of motion and motion, the accompanying
14 memorandum of points and authorities, and on such further oral and documentary
15 evidence as may be presented at the hearing of this motion.
16
17 DATED: February 9, 2016                       GREENBERG TRAURIG, LLP
18
                                                 By: /s/ Howard J. Steinberg
19                                                   HOWARD J. STEINBERG
20                                               Attorneys for Salus Capital Partners, LLC,
                                                 Salus CLO 2012-1, Ltd., DCP Linens
21                                               Lenders, LLC and
                                                 Downtown Capital Partners, LLC
22
                                                 MINTZ, LEVIN, COHN, FERRIS,
23                                               GLOVSKY AND POPEO, P.C.
24
                                                 By: /s/ Jeffrey A. Davis
25                                                   JEFFREY A. DAVIS
                                                 Attorneys for Fidelity & Guaranty Life
26                                               Insurance Company
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1           Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Jeffrey A.
2 Davis, on whose behalf this filing is jointly submitted, has concurred in this filing’s
3 content and has authorized me to file this document.
4                                               By: /s/ Howard J. Steinberg
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2           Defendants Salus Capital Partners, LLC (“Salus”), Salus CLO 2012-1, Ltd.
 3 (“Salus CLO”), DCP Linens Lender, LLC (“DCP”) and Downtown Capital Partners,
 4 LLC (“Downtown Capital”), joined by Fidelity & Guaranty Life Insurance Company
 5 (“FGL”, collectively, the “Non-Insider Defendants”), respectfully submit this
 6 Memorandum of Points and Authorities in support of their motion (the “Motion”) for
 7 withdrawal of the reference to the United States Bankruptcy Court for the Central District
 8 of California (the “Bankruptcy Court”) of the claims asserted against the Non-Insider
 9 Defendants in the above-captioned adversary proceeding (the “Adversary Proceeding”).
10                                     Preliminary Statement1
11           This is a garden-variety state law case that will turn almost entirely on principles
12 of state common law and equity. With the exception of a single count for equitable
13 subordination, the Complaint asserts only non-core causes of action brought by non-
14 debtors against non-debtors that will inevitably have to be relitigated de novo before the
15 District Court. That includes a significant motion to dismiss for lack of Bankruptcy
16 Court jurisdiction and failure to state a claim – the very sort of motion that the District
17 Court is ideally suited to address in the first instance. The Plaintiff Vendors have also
18 demanded a jury trial, which cannot be conducted by the Bankruptcy Court without the
19 consent of the Non-Insider Defendants, who do not so consent. Further, this matter
20 remains in its earliest stages in the Bankruptcy Court, so there is no delay caused by
21 withdrawing the reference now. Indeed, litigating these issues once before the District
22 Court – rather than twice, before the Bankruptcy Court and then again in the District
23 Court – would be far more efficient and respectful of judicial resources. The reference to
24 the Bankruptcy Court as to the claims asserted against the Non-Insider Defendants in the
25 Adversary Proceeding should be withdrawn.
26
27   1
    Capitalized terms not otherwise defined in the Preliminary Statement shall have the
28 meanings ascribed to them below.
                                              1
                              MOTION TO WITHDRAW THE REFERENCE
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 1                                     Factual Background
 2 I.        Anna’s Files For Bankruptcy
 3           Anna’s Linens, Inc. (the “Debtor”), opened its first store in 1987 as a specialty
 4 retailer offering high-quality and stylish home textiles, furnishings, and décor at
 5 attractive prices. Over the next twenty-five years, Anna’s achieved substantial success as
 6 it branched out to more than 300 hundred stores across the United States. However,
 7 beginning in 2011, Anna’s started experiencing financial and operational challenges,
 8 which ultimately lead to a default with the Debtor’s long-time lender, MFUG Union
 9 Bank, N.A. (“Union Bank”). In order to refinance the Debtor’s obligations to Union
10 Bank, the Debtor entered into a credit agreement (the “Credit Agreement”) on July 18,
11 2014 with certain of the Non-Insider Defendants, namely Salus, Salus CLO and DCP
12 (collectively, the “Lenders”), which provided an $80 million line of credit (the “Credit
13 Facility”) to the Debtor. Defendants FGL and Downtown Capital were not parties to the
14 Credit Agreement and are misidentified as Lenders in the Amended Complaint.
15           Over the course of the next year, the Debtor’s financial situation deteriorated
16 resulting in the Debtor defaulting under the Credit Agreement. Following negotiations
17 between the Debtor and the Lenders in the Spring of 2015, the Lenders agreed to waive
18 the Debtor’s defaults through an amendment to the Credit Agreement premised upon the
19 Debtor’s implementation of its proposed turnaround plan.2 However, the Debtor failed to
20 execute its turnaround plan.
21           Accordingly, on June 14, 2015 (the “Petition Date”), the Debtor filed a voluntary
22 petition for relief under chapter 11 of title 11 of the United States Code (the
23 “Bankruptcy Code”) in the Bankruptcy Court.
24 II.       The Plaintiffs’ Adversary Proceeding
25           On December 30, 2015, certain of the Debtor’s merchandise vendors (the
26 “Plaintiffs”) initiated the Adversary Proceeding in the Bankruptcy Court by filing a
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         Once again, defendants FGL and Downtown Capital were not parties to the amendment.
                                             2
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 1 complaint [Adv. Docket No. 1] (the “Complaint”, and as amended by the Plaintiff
 2 Vendors on January 15, 2016 [Adv. Docket No. 7], the “Amended Complaint”) against
 3 certain of Anna’s directors and officers (the “Insider Defendants”) and the Non-Insider
 4 Defendants. The Amended Complaint is entirely premised on facts that occurred before
 5 Anna’s bankruptcy filing and generally alleges that the Plaintiffs were damaged by
 6 manufacturing and shipping inventory to the Debtor in reliance on allegedly fraudulent
 7 statements made by the Insider Defendants concerning the Debtor’s financial problems.
 8 The Amended Complaint further alleges that the Non-Insider Defendants assisted the
 9 Insider Defendants in their allegedly tortious conduct.     To that end, the Amended
10 Complaint asserts nine causes of action: (i) Count 1 – claim against the Insider
11 Defendants for fraud; (ii) Count 2 – claim against the Insider Defendants for negligent
12 misrepresentation; (iii) Count 3 – claim against the Insider Defendants for breach of the
13 implied covenant of good faith and fair dealing; (iv) Count 4 – derivative claim against
14 the Debtor and the Insider Defendants for breach of fiduciary duty; (v) Count 5 – claim
15 against the Non-Insider Defendants for aiding and abetting fraud;        (vi) Count 6 –
16 derivative claim against the Non-Insider Defendants for aiding and abetting breach of
17 fiduciary duty; (vii) Count 7 – derivative claim against the Debtor and the Non-Insider
18 Defendants for breach of fiduciary duty; (viii) Count 8 – claim against the Non-Insider
19 Defendants for unjust enrichment; and (ix) Count 9 – claim against the Non-Insider
20 Defendants for equitable subordination. With the sole exception of the Plaintiffs’ claim
21 for equitable subordination (Count 9), the entirety of the Amended Complaint is
22 premised on run-of-the-mill tort claims asserted by non-debtors against non-debtors. The
23 Plaintiffs also demand a jury trial as to all causes of action and issues in the Amended
24 Complaint so triable.
25          The Adversary Proceeding remains in its earliest stages. While the Non-Insider
26 Defendants intend to bring motions to dismiss the Amended Complaint for lack of
27 Bankruptcy Court jurisdiction and failure to state a claim, the Non-Insider Defendants
28 have not yet responded to the Amended Complaint filed by the Plaintiffs on January 15,
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 1 2016. Nor have the parties even submitted a discovery plan yet and the initial status
 2 conference for the Adversary Proceeding is not scheduled to be held until April 7, 2016.
 3 The Non-Insider Defendants will not consent to the Bankruptcy Court conducting a jury
 4 trial, entering final judgment, or otherwise exercising judicial powers reserved for Article
 5 III judges.
 6                                           Argument
 7          The United States District Court for the Central District of California (the
 8 “District Court”) automatically refers to the Bankruptcy Court “all cases under Title 11,
 9 and all proceedings arising under Title 11 or arising in or related to a case under Title
10 11.”      See General Order No. 13-05 (Reference of Cases and Proceedings to the
11 Bankruptcy Judges of the Central District of California, and Reference of Appeals to the
12 Bankruptcy Appellate Panel), entered on July 1, 2013. Under 28 U.S.C. § 157(d),
13 however, “[t]he district court may withdraw, in whole or in part, any case or proceeding
14 referred under this section, on its own motion or on timely motion of any party, for cause
15 shown.”
16          In determining whether “cause” for withdrawal exists in the Ninth Circuit, the
17 District Court should “consider the following: the efficient use of judicial resources,
18 delay and costs to the parties, uniformity of bankruptcy administration, the prevention of
19 forum shopping, and other related factors.” Vacation Vill., Inc. v. Clark Cty., Nev, 497
20 F.3d 902, 914 (9th Cir. 2007) (quoting In re Canter, 299 F.3d 1150, 1154 (9th Cir.
21 2002)); see also Sec. Farms v. Int’l Bhd. of Teamsters, Chauffers, Warehousemen &
22 Helpers, 124 F.3d 999, 1008 (9th Cir. 1997). In this case, every applicable factor
23 supports the conclusion that the reference should be withdrawn. On its merits, this
24 dispute has nothing to do with bankruptcy law and would be far more efficiently dealt
25 with in the District Court in the first instance.
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 1 I.       Judicial Efficiency
 2          A.   Any Determination By The Bankruptcy Court Will Be Subject To De Novo
 3          Review
 4          It is black-letter law that bankruptcy courts, as non-Article III courts, do not have
 5 constitutional authority to enter final orders on garden-variety state law claims between
 6 non-debtor parties. See Stern v. Marshall, 564 U.S. 2 (2011); see also, e.g., Waldman v.
 7 Stone, 698 F.3d 910, 922 (6th Cir. 2012) (holding that bankruptcy court lacked authority
 8 to enter a final judgment on fraud claim); Lehman Bros. Holdings Inc. v. JPMorgan
 9 Chase Bank, N.A. (In re Lehman Bros. Holdings, Inc.), 480 B.R. 179, 190-91 (Bankr.
10 S.D.N.Y. 2012) (holding that bankruptcy court lacked authority to enter final judgment
11 on fraud, fraudulent transfer, unjust enrichment, and conversion claims); Field v. Albright
12 (In re Maui Indus. Loan & Fin. Co.), Case No. 10-00235, Adv. No. 10-90121, 2012 WL
13 405056, at *4 (Bankr. D. Haw. Feb. 8, 2012) (holding that bankruptcy court did not have
14 authority to enter a final order on unjust enrichment claim).         Therefore, in deciding
15 whether to withdraw the reference, courts first examine whether the bankruptcy court
16 lacks authority to issue a final order, thus necessitating eventual de novo review by the
17 district court. See In re Tamalpais Bancorp, 451 B.R. 6, 10 (N.D. Cal. 2011).
18          This question is paramount because “[i]nasmuch as a bankruptcy court’s
19 determinations on non-core matters are subject to de novo review by the district court,
20 unnecessary costs could be avoided by a single proceeding in the district court.” Sec.
21 Farms, 124 F.3d at 1009 (citing authority); Oliner v. Kontrabecki, No. ADV NO 03-3264
22 DM, 2006 WL 3646789, at *2 (N.D. Cal. Dec. 12, 2006) (explaining that failing to
23 withdraw claims subject to de novo review “arguably leads to a waste of judicial and
24 other resources.”). Even when such a claim is in the preliminary stages, withdrawal
25 promotes judicial economy because “[f]ailure to withdraw the reference . . . could lead to
26 a future appeal in which a district court will be tasked with reviewing the bankruptcy
27 court’s decision de novo.” Tamalpais Bancorp, 451 B.R. at 11.
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1           Consistently, whether a proceeding is “core” or “non-core” is essential to the de
2 novo review analysis. See In re Nw. Inst. of Psychiatry, Inc., 268 B.R. 79, 85 (Bankr.
3 E.D. Pa. 2001) (“While there are a number of factors to be considered in adjudicating a
4 motion to withdraw the reference, the first and most important criteria is whether the
5 litigation presents a core or non-core matter.”). That is because the powers of the district
6 court and the bankruptcy court vary with respect to each type of proceeding:
7           In noncore matters, the bankruptcy court acts as an adjunct to the district
            court, in a fashion similar to that of a magistrate or special master. In
8           noncore matters, the bankruptcy court may not enter final judgments without
            the consent of the parties, and its findings of fact and conclusions of law in
9           noncore matters are subject to de novo review by the district court. . . . In
            contrast to the bankruptcy court’s authority in noncore cases, the bankruptcy
10          court may enter final judgments in so-called core cases, which are
            appealable to the district court.
11
     In re Castlerock Props., 781 F.2d 159, 161 (9th Cir. 1986) (internal citation omitted).
12
            For these reasons, it is generally more efficient for a proceeding to remain in the
13
     bankruptcy court when it involves core issues, but to be withdrawn to the district court
14
     when it involves non-core matters. Compare Hawaiian Airlines, Inc. v. Mesa Air Group,
15
     Inc., 355 B.R. 214, 223 (D. Haw. 2006) (“The existence of core matters weighs in favor
16
     of resolution of the adversary proceeding by the bankruptcy court.”) with United States v.
17
     One Parcel of Real Prop., Commonly Known as Star Route Box 1328, Glenwood,
18
     Washington Cty., Or., 137 B.R. 802, 807 (D. Or. 1992) (“the fact that these cases are
19
     related [non-core] proceedings rather than core proceedings weighs heavily in favor of
20
     withdrawing the cases from the bankruptcy court . . . .”). Otherwise, the parties must
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     litigate the non-core proceedings to conclusion in the bankruptcy court, only to turn
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     around and relitigate the conclusion on de novo review before the district court. For
23
     obvious reasons, this is an unnecessary drain on judicial resources. See Sec. Farms, 124
24
     F.3d at 1008–09.
25
            Here, the District Court should withdraw the reference because, other than a single
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     equitable subordination claim, the entire substance of this dispute is non-core. See, e.g.,
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     Sec. Farms, 124 F.3d at 1008–09 (affirming withdrawal of reference because substance
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 1 of dispute was non-core); In re Transcon Lines, 121 B.R. 837, 838 (C.D. Cal. 1990)
 2 (granting motion to withdraw the reference because claims were non-core); In re
 3 Zinkova, No. C12-778 MJP, 2012 WL 1865701, at *2 (W.D. Wash. May 21, 2012)
 4 (same). The Adversary Proceeding primarily consists of state common law claims (e.g.,
 5 fraud, negligent misrepresentation, breach of the implied covenant of good faith and fair
 6 dealing, breach of fiduciary duty, aiding and abetting fraud, aiding and abetting breach of
 7 fiduciary duty and unjust enrichment) brought by non-debtors against non-debtors in
 8 relation to events that occurred prior to the commencement of this chapter 11 case. Such
 9 state law claims are not listed amongst the sixteen types of core claims enumerated in 28
10 U.S.C. § 157(b)(2). The Ninth Circuit has held that a claim is non-core if it “do[es] not
11 depend on the Bankruptcy Code for [its] existence and [it] could proceed in another
12 court.” Dunmore v. United States, 358 F.3d 1107, 1114 (9th Cir. 2004) (citing Sec.
13 Farms, 124 F.3d at 1008). Further, all of the allegations in the Amended Complaint are
14 premised on facts that predate Anna’s bankruptcy filing. Such state law claims involving
15 alleged pre-petition conduct have traditionally and consistently been held to be non-core.
16 See In re Cinematronics, Inc., 916 F.2d 1444, 1450 (9th Cir. 1990) (holding that state law
17 claims against non-debtor are non-core); Lead I JV, LP v. N. Fork Bank, 401 B.R. 571,
18 581 (E.D.N.Y. 2009) (holding that “purely state law claims between nondebtors sounding
19 in tort and contract” were non-core claims because “[t]hey are not claims that invoke
20 substantive rights created by federal bankruptcy law nor are they claims that would be
21 incapable of existence absent the bankruptcy case.”); In re New 118th LLC, 396 B.R.
22 885, 890 (Bankr. S.D.N.Y. 2008) (holding that “[t]he Court plainly lacks core
23 jurisdiction” because “[t]he cause of action did not arise under title 11, and did not arise
24 in this bankruptcy case. It is a garden-variety state law claim between non-debtor
25 parties.”) (emphasis added); In re FMG, Inc., No. 91 C 6018, 1991 WL 230390, at *1
26 (N.D. Ill. Oct. 28, 1991) (holding that claims for breach of contract, breach of fiduciary
27 duty and defamation were non-core: “Indeed, such state law claims have traditionally and
28 consistently been found to be non-core in nature due to their tenuous relationship to a
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 1 bankruptcy case.”); Hatzel & Buehler, Inc. v. Orange & Rockland Utilities, Inc., 107
 2 B.R. 34, 39 (D. Del. 1989) (“The adversary proceedings in this case constitute a ‘non-
 3 core proceeding’ as that term is used in 28 U.S.C. § 157(b)(2) because the state contract
 4 and tort claims do not involve any interpretation of the Bankruptcy Code . . . .”). The
 5 state law claims against the Non-Insider Defendants fit this definition precisely.
 6          The presence of the single count of equitable subordination does not affect the
 7 outcome. Even when a cause of action is brought under the Bankruptcy Code, district
 8 courts still withdraw the reference where other claims asserted deprive the bankruptcy
 9 court of authority to enter a final order. See In re O’Hanneson, No. 12-53343 ASW,
10 2013 WL 655158, at *4 (N.D. Cal. Feb. 21, 2013) (“there are ‘core’ claims intertwined
11 with ‘non-core’ claims, some of which are subject to a jury trial. And a portion of these
12 claims, if not a majority of them, cannot be finally resolved by the Bankruptcy Court. It
13 is therefore inevitable that, at some point, the reference will need to be withdrawn.”); In
14 re Zante, Inc., No. 3:10-CV-00231-RCJ, 2010 WL 5477768, at *1 (D. Nev. Dec. 29,
15 2010) (withdrawing reference where 8 of 9 causes of action were non-core state law
16 claims). Here, the sole equitable subordination claim is premised on the exact same
17 allegedly actionable conduct supporting the Plaintiffs’ eight other state law tort claims.
18 While all of the plaintiffs’ claims against the Non-Insider Defendants fail as a matter of
19 law as alleged, if such claims survive a motion to dismiss then any findings of fact
20 concerning the Plaintiffs’ eight non-core tort or equitable claims will be integral to any
21 equitable subordination analysis. Therefore, any and all factual determinations in the
22 Adversary Proceeding should be made by one court to avoid inconsistent outcomes.
23 Because eight of the nine causes of action asserted in the Amended Complaint are non-
24 core claims over which the Bankruptcy Court cannot issue a final determination, it is
25 abundantly more efficient for the District Court to determine this matter in the first
26 instance. See Sec. Farms, 124 F.3d at 1008 (“In this case efficiency was enhanced by
27 withdrawing the reference because non-core issues predominate.”).
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1           B.         The Non-Insider Defendants Do Not Consent To The Bankruptcy Court
                       Conducting A Jury Trial
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            Similarly, the reference must also be withdrawn because the Plaintiffs demand a
3
     jury trial concerning their non-core claims and the Non-Insider Defendants do not
4
     consent to the Bankruptcy Court conducting the jury trial. See Cinematronics, 916 F.2d
5
     at 1451 (“where a jury trial is required and the parties refuse to consent to bankruptcy
6
     jurisdiction, withdrawal of the case to the district court is appropriate”); In re Big V
7
     Holding Corp., No. 00-04372(RTL), 2002 WL 1482392, at *4 (D. Del. July 11, 2002)
8
     (“absent the express consent of both parties and a special designation of jurisdiction by
9
     the district court, the Bankruptcy Court may not hold a jury trial in a non-core
10
     proceeding”); Beard v. Braunstein, 914 F.2d 434, 443 (3d Cir. 1990) (“By the Seventh
11
     Amendment, any fact found by a jury cannot be reviewed de novo. Accordingly, a
12
     bankruptcy court cannot conduct a jury trial in a non-core proceeding.”).
13
            Generally, there is sufficient cause to withdraw the reference when a bankruptcy
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     litigant duly demands a jury trial and the bankruptcy court lacks authority under 28
15
     U.S.C. §157(e) to conduct a jury trial, either because it has not been specifically
16
     designated to do so by the district court and/or because not of all of the parties have
17
     consented to having the action tried before the bankruptcy court. See, e.g., In re NDEP
18
     Corp., 203 B.R. 905, 914 (D. Del. 1996) (“[b]ecause the parties have not expressly
19
     allowed the bankruptcy court to hold a jury trial in this adversary proceeding and because
20
     this court has not made a special designation of jurisdiction, the bankruptcy court is not
21
     statutorily empowered to hold a jury trial in this matter. For this reason alone withdrawal
22
     is compelled.”); Nw. Inst. of Psychiatry, Inc., 268 B.R. at 85 (where a matter is non-core
23
     and a jury trial has been demanded, withdrawal of the reference is appropriate); Steege v.
24
     N. Trust Bank/O'Hare, N.A., No. 96 C 742, 1996 WL 332428, at *1 (N.D. Ill. June 13,
25
     1996) (citations omitted) (holding that cause to withdraw the reference exists where a
26
     “party to a non-core proceeding stands on its right to trial by jury, and the parties do not
27
     consent to adjudication by the bankruptcy court.”). Bankruptcy judges in this District
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                                MOTION TO WITHDRAW THE REFERENCE
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 1 have not been specifically designated to conduct jury trials nor do the Non-Insider
 2 Defendants consent to having this action tried by a jury before the Bankruptcy Court.
 3 Accordingly, “withdrawing the reference is efficient because if the case goes to trial, the
 4 trial would have to be conducted in district court.” M. Fabrikant & Sons, Inc. v. Long's
 5 Jewelers Ltd., No. 08-CV-1982, 2008 WL 2596322, at *3 (S.D.N.Y. June 26, 2008); see
 6 also In re Gulf States Long Term Acute Care of Covington, L.L.C., 455 B.R. 869, 877
 7 (E.D. La. 2011) (“even though the Movant–Defendants have not yet demanded a jury
 8 trial, the obvious right to such a trial is a factor weighing in favor of withdrawal of the
 9 reference.”).
10          Because the Non-Insider Defendants do not consent to a trial in the Bankruptcy
11 Court, ultimately, the trial will have to be held in the District Court. The reference must
12 therefore be withdrawn and any resulting trial conducted by the District Court. The only
13 real question is whether the reference should be withdrawn now or later. See Transcon
14 Lines, 121 B.R. at 838 (“Due to the fact that a District Court Judge must eventually
15 preside over the jury trial in this matter, it would constitute a tremendous waste of
16 judicial resources to permit the bankruptcy judge to continue to maintain jurisdiction over
17 the issues presented in this litigation.”). The Non-Insider Defendants respectfully request
18 that the District Court withdraw the reference now.
19          C.    The District Court Is Better Suited To Hear This Case In The First
20          Instance
21          Because this Adversary Proceeding is similar to a typical district court case – with
22 the corresponding discovery, expert testimony, and other pre-trial proceedings in the
23 event the Plaintiffs’ claims survive a motion to dismiss (which they should not) – it will
24 be more efficiently handled in the District Court. Where cases potentially “involve
25 extensive discovery, expert testimony, and a lengthy and complex trial requiring a jury,”
26 courts have found cause to withdraw the reference. See In re Complete Mgmt., Inc., No.
27 01-03459, 2002 WL 31163878, at *3 (S.D.N.Y. Sept. 27, 2002); In re Braniff Int’l
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                             MOTION TO WITHDRAW THE REFERENCE
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 1 Airlines, Inc., 159 B.R. 117, 126 (E.D.N.Y. 1993); In re Leedy Mortg. Co., Inc., 62 B.R.
 2 303, 306 (E.D. Pa. 1986).
 3          Here, the Adversary Proceeding looks nothing like a typical bankruptcy
 4 proceeding. If the case survives the Non-Insider Defendants’ contemplated motions to
 5 dismiss, the discovery required to determine the necessary facts as to each claim asserted
 6 by the Plaintiffs will be voluminous. The Bankruptcy Court does not normally oversee
 7 such extensive discovery. “All of this contrasts with that which typically occurs before
 8 the bankruptcy court,” Leedy, 62 B.R. at 306, but it is typical fare for the District Court.
 9 The proceedings, including extensive discovery and significant expert testimony, are
10 familiar to district courts. Additionally, the state law claims at issue in the Adversary
11 Proceeding are common in district court, under either diversity jurisdiction or
12 supplemental jurisdiction. Quite simply, this case is more appropriately handled by the
13 District Court. See NDEP Corp., 203 B.R. at 913 (withdrawing reference for type of case
14 “routinely tried in [district] court”); In re Chateaugay Corp., 193 B.R. 669, 675
15 (S.D.N.Y. 1996) (noting that “non-core matters are those in which the district court is
16 more proficient”).
17          D.         Bankruptcy Expertise Is Not Necessary To Resolve This Matter
18          Given the nature of the claims in the Adversary Proceeding, the Bankruptcy
19 Court’s expertise is not implicated. The bankruptcy courts are, of course, experts in the
20 field of bankruptcy law. Thus, when a proceeding involves substantial bankruptcy law
21 questions, such as those pertaining to core claims, it often is more efficient for the
22 proceedings to remain in the bankruptcy court so that the court can apply that expertise.
23 Chateaugay, 193 B.R. at 675 (noting that “[c]ore matters are ones with which the
24 bankruptcy court has greater familiarity and expertise”); see also Star Route, 137 B.R. at
25 806 (same). That is not the case here.
26          This case overwhelmingly involves state common law claims brought by non-
27 debtor plaintiffs against non-debtor defendants. Indeed, there is no reason to believe that
28 the claims in this case will require any “consideration of the interplay between
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                                 MOTION TO WITHDRAW THE REFERENCE
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 1 bankruptcy and state-law issues.” In re Pacers, Inc., No. 11-CV-1401-L BGS, 2012 WL
 2 947956, at *4 (S.D. Cal. Mar. 20, 2012).
 3          Given the nature of the issues here, litigating them in the first instance before the
 4 Bankruptcy Court presents no efficiency advantage at all. Instead, it would be far less
 5 efficient. District courts routinely grant motions to withdraw the reference for this
 6 reason. See Veys v. Riske, No. C07-5625BHS, 2007 WL 4246172, at *4 (W.D. Wash.
 7 Nov. 28, 2007) (“The adversary proceeding does not implicate the bankruptcy court’s
 8 unique knowledge of Title 11.”); Dynegy Danskammer, L.L.C. v. Peabody COALTRADE
 9 Int’l Ltd., 905 F. Supp. 2d 526, 534 (S.D.N.Y. 2012) (withdrawing reference because
10 plaintiff’s claim was “based in state contract law, and there is no indication that any
11 bankruptcy-specific legal analysis will be required”); NDEP Corp., 203 B.R. at 913
12 (withdrawing reference where proceeding involved non-core state law claims and was
13 thus “somewhat removed from the bankruptcy court’s realm of expertise”).
14 II.      Delay And Cost To The Parties
15          There will be no undue delay caused by withdrawing the reference and moving this
16 case to the District Court. This case is still at the earliest stages of its development. As
17 noted above, the Amended Complaint has just been filed and the Non-Insider Defendants
18 have not yet responded to the Amended Complaint. As yet, there has been no discovery
19 in the Adversary Proceeding. See Dev. Specialists, Inc. v. Akin Gump Strauss Hauer &
20 Feld LLP, 462 B.R. 457, 472 (S.D.N.Y. 2011) (“Finally, as no discovery has taken place,
21 and no case management plan or other course of proceeding has been agreed on, bringing
22 the actions before this Court will not cause undue delay or require any duplication of
23 effort.”). This is not the sort of case where the bankruptcy judge has built up great
24 familiarity with the facts underlying these particular claims. On the contrary, up to this
25 point, there have been no facts presented. Id. (“And because only issues of law have
26 been presented in the case so far, [the bankruptcy judge’s] familiarity with the underlying
27 facts does not weigh in favor of retention of the case before him.”).
28
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 1          Denying this Motion would in fact likely result in more delay for the other
 2 bankruptcy proceedings pending before the Bankruptcy Court. It would be inefficient to
 3 clog the proceedings in the bankruptcy case with Rule 12(b)(1) and (b)(6) motions,
 4 discovery, and other pretrial motions and procedures that come along with the instant
 5 dispute while the Bankruptcy Court remains busy addressing various core claims which
 6 directly affect the bankruptcy estate. Having the Bankruptcy Court address such a
 7 litigious, unrelated case alongside the other matters it must resolve in the bankruptcy
 8 proceeding itself will cause needless delay. Because the District Court must review de
 9 novo any findings of fact and conclusions of law rendered by the Bankruptcy Court,
10 “unnecessary delay and costs to the parties can be avoided by withdrawing the
11 reference.” Tamalpais Bancorp, 451 B.R. at 11; see also In re Daewoo Motor Am., Inc.,
12 302 B.R. 308, 315 (C.D. Cal. 2003) (holding that the fact that the bankruptcy court’s
13 determinations are subject to de novo review “could lead [the district court] to conclude
14 that in a given case unnecessary costs could be avoided by a single proceeding in the
15 district court.”) (citation omitted). If the reference is not immediately withdrawn, the
16 parties will proceed before the Bankruptcy Court. As described above, any decision by
17 the Bankruptcy Court will have to be reviewed de novo by the District Court. Thus, the
18 parties will be forced to familiarize the District Court with issues and facts at a later date,
19 after having already litigated before the Bankruptcy Court.
20          Furthermore, if the reference is not withdrawn now, the resulting delay and cost
21 would be compounded if the case were not decided on dispositive motions and instead
22 proceeds to trial. By contrast, “delay and costs associated with withdrawal would be
23 insignificant because [plaintiff’s] adversary complaint is in its early stages.” Veys, 2007
24 WL 4246172, at *3. Bringing the District Court up to speed now, when the case is in its
25 early stages, surely will conserve resources more than revisiting the case with the District
26 Court after completing pre-trial proceedings before the Bankruptcy Court.
27
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 1 III.     Uniformity Of Bankruptcy Administration
 2          Litigating the Plaintiffs’ state law tort claims in the court that ultimately must try
 3 and finally decide the action will not hinder the administration of the bankruptcy case.
 4 The central issues presented here turn on state common law – areas over which the
 5 Bankruptcy Court lacks “any special expertise.” Akin Gump, 462 B.R. at 473; see also
 6 Solutia Inc. v. FMC Corp., No. 04 CIV. 2842(WHP), 2004 WL 1661115, at *4 (S.D.N.Y.
 7 July 27, 2004) (“Where an action involves garden variety breach of contract matters that
 8 are non-core, uniformity in bankruptcy law ‘compels withdrawal’ of those claims.”)
 9 (citation omitted).
10          Additionally, the outcome of the Adversary Proceeding will not affect the
11 administration of Anna’s bankruptcy case, because the Plaintiffs are seeking to recover
12 from non-debtor parties. Consistently, there are no bankruptcy distributions on hold
13 pending the outcome of this litigation. As such, the District Court’s determination of this
14 matter will not interfere with any pending actions in the Bankruptcy Court.
15          Most fundamentally, because the District Court must ultimately apply de novo
16 review to the Bankruptcy Court’s rulings, conducting such review promptly will not
17 undermine in any way the uniform administration of the Debtor’s bankruptcy. To the
18 contrary, prompt review will promote uniform administration by ensuring that if the
19 District Court concludes the Plaintiffs’ claims fail, such decision will be made as soon as
20 possible.
21 IV.      Forum Shopping
22          The issues in this case will ultimately be resolved by the District Court de novo in
23 any event; the only question is whether the parties should be required to litigate them
24 twice – once in the Bankruptcy Court and again here. As the Ninth Circuit has pointed
25 out, where an adversary proceeding includes claims that cannot be finally adjudicated by
26 the bankruptcy court, forum shopping is not implicated by withdrawing the reference
27 because the district court will be called upon to review de novo the claims in any event.
28 See Sec. Farms, 124 F.3d at 1008-09 (rejecting the notion that withdrawal of non-core
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                             MOTION TO WITHDRAW THE REFERENCE
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 1 claims, subject to de novo review, encourages forum shopping). As aptly stated by one
 2 court: “because this Court would have to review [the bankruptcy judge’s] conclusions of
 3 law de novo were the case left in the Bankruptcy Court (see above), there is no reason not
 4 to do now what must be done eventually.” Akin Gump, 462 B.R. at 473.
 5                                          Conclusion
 6          For the foregoing reasons, the Non-Insider Defendants respectfully request that the
 7 District Court withdraw the reference to the Bankruptcy Court as to the claims asserted
 8 against the Non-Insider Defendants and allow such claims to be resolved by the District
 9 Court in the first instance.
10 DATED: February 9, 2016                        GREENBERG TRAURIG, LLP
11
                                                  By: /s/ Howard J. Steinberg
12                                                   HOWARD J. STEINBERG
13
                                                  Attorneys for Salus Capital Partners, LLC,
14                                                Salus CLO 2012-1 Ltd., DCP Linens
                                                  Lenders, LLC and
15                                                Downtown Capital Partners, LLC
16
17                                                MINTZ, LEVIN, COHN, FERRIS,
                                                  GLOVSKY AND POPEO, P.C.
18
                                                  By: /s/ Jeffrey A. Davis
19                                                   JEFFREY A. DAVIS
20
                                                  Attorneys for Fidelity & Guaranty Life
21                                                Insurance Company
22
23          Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Jeffrey A.
24 Davis, on whose behalf this filing is jointly submitted, has concurred in this filing’s
25 content and has authorized me to file this document.
26                                                By: /s/ Howard J. Steinberg
27
28
                                            15
                             MOTION TO WITHDRAW THE REFERENCE
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 1                                CERTIFICATE OF SERVICE
 2                           UNITED STATES DISTRICT COURT
 3                          CENTRAL DISTRICT OF CALIFORNIA
 4                   P & A Marketing, Inc., et al. v. Anna’s Linens, Inc, et al.
 5       I am employed in the County of Los Angeles, State of California; I am over the
   age of 18 years and not a party to the within action; my business address is 1840
 6 Century Park East, Suite 1900, Los Angeles, CA 90067.
 7       On February 9, 2016, I served the NOTICE OF MOTION AND JOINT
 8 MOTION OF DEFENDANTS SALUS CAPITAL PARTNERS, LLC, SALUS CLO
   2012-1, LTD, DCP LINENS LENDERS, LLC, DOWNTOWN CAPITAL
 9 PARTNERS, LLC, AND FIDELITY & GUARANTY LIFE INSURANCE
10 COMPANY FOR WITHDRAWAL OF THE REFERENCE TO THE
   BANKRUPTCY COURT; MEMORANDUM OF POINTS AND AUTHORITIES
11 on the interested parties in this action as follows:
12
                               SEE ATTACHED SERVICE LIST
13
14       (BY MAIL)
         I am readily familiar with the business practice of my place of employment in
15       respect to the collection and processing of correspondence, pleadings and notices
         for mailing with United States Postal Service. The foregoing sealed envelope was
16       placed for collection and mailing this date consistent with the ordinary business
17       practice of my place of employment, so that it will be picked up this date with
         postage thereon fully prepaid at Los Angeles, California, in the ordinary course of
18       such business.
19          (BY OVERNIGHT DELIVERY)
20          I enclosed the documents in an envelope or package provided by an overnight
            delivery carrier and addressed to the persons above. I placed the envelope or
21          package for collection and overnight delivery at an office or a regularly utilized
            drop box of the overnight delivery carrier.
22
23        (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                    correct, and that I am employed at the office of a member of
24                  the bar of this Court at whose direction the service was made.
25          Executed on February 9, 2016, at Los Angeles, California.
26
                                                                    Kathy Lai
27                                                                  Kathy Lai

                                               1
                                        PROOF OF SERVICE
     BOS 47950505
     Case 8:16-cv-00227-GHK Document 1 Filed 02/09/16 Page 25 of 26 Page ID #:25



 1                                   SERVICE LIST

 2
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 3 Jason B. Komorsky                           Eve H. Karasik
 4 Michael Davis                               Juliet Y. Oh
   Jessica L. Bagdanov                         John-Patrick M. Fritz
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10 Lajwanti Home Fashions, Inc. dba S.L.
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11 Industrial Corporation
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19
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                                   PROOF OF SERVICE
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     Case 8:16-cv-00227-GHK Document 1 Filed 02/09/16 Page 26 of 26 Page ID #:26



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6 Central District of California              Central District of California
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  Santa Ana, CA 92701                         Santa Ana, CA 92701-4593
8
9                                             Conformed copy to be delivered per L.R.,
                                              Ch. IV, Rule 9
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